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  IT IS ORDERED as set forth below:



   Date: May 9, 2023
                                                          _________________________________

                                                                   Barbara Ellis-Monro
                                                              U.S. Bankruptcy Court Judge

 ________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:
                                                              CASE NO. 23-53162-BEM
 T.A.M.G. Realty Inc.,

          Debtor.                                             CHAPTER 11

                                            ORDER

              This matter came before the Court on May 9, 2023, for hearing on United States

Trustee’s Emergency Motion to Dismiss or Convert Case and Request for Hearing on an Expedited

Basis       Due          to       Lack      of        Proof       of        Insurance        (the

“Hearing” and the “Trustee’s Motion to Dismiss,” respectively). [Doc. 10]. Serge Jerome, Jr.

appeared on behalf of the Debtor, Lindsay Kolba appeared on behalf of the United States Trustee,

Leon Jones appeared as the Subchapter V Trustee, Justan Bounds appeared on behalf of Stronghill

Capital, LLC, Tiffany Gray appeared as principal of the Debtor, and Talia Wagner appeared on

behalf of Riverbend Funding, LLC. This Court entered an Order on Trustee’s Motion to Dismiss

on April 26, 2023, with explicit directions for the Debtor to complete. [Doc. 28]. At the Hearing
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the United States Trustee sought to have the case converted to chapter 7 due to Debtor’s failure to

comply with the Court’s previous Order and for several other deficiencies. However, for the

reasons announced on the record, it is

               ORDERED that the case is DISMISSED.

                                         END OF ORDER




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                                       Distribution List

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ALL PARTIES AND CREDITORS.




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